CaSe 19-11372-btb Doc 18 Entered 03/27/19 00:06:43 Page 1 of 2

Fill in this information to identify your case:

 

Debtor JOEL CROSBY S|NNO`|_|'

 

 

 

First Name Middle Name Last Name
Debtor 2
(Spouse |f filing) Fii\st Name Midd|e Name Last Name
United States Bankruptcy Court for the: DiSfrin Of Nevada E
Case number 19'1 1372'BTB _ _ _
(lfkn°wn) n Check if this is an

amended filing

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

 

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
a No. Check this box and tile this form with the court with your other schedules. You have nothing else to report on this form.
El Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Pmperty (Ofiicial Form 106A/B).

2. List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State Z|P Code

2.2

 

Name

 

Number Street

 

City State Z|P Code
2.3

 

Name

 

Number Street

 

City State ZlP Code
2.4

 

Name

 

Number Street

 

City State Z|P Code
2.5

Name

 

 

Number Street

 

City State Z|P Code

Ofiicial Form 1066 Schedu|e G: Executory Contracts and Unexpired Leases page 1 of_

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Bawa JOEL CROSBY SlNNoTT

Case number (irk,wwn)

 

First Name

Middle Name

19-11372-BTB

 

LS$‘! Name

- Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

city

State

ZlP Code

 

Name

 

Number

Street

 

City

State

Z|P Code

 

Name

 

Number

Street

 

city

State

Z|P Code

 

Name

 

Number

Street

 

city

State

ZlP Code

 

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State

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Number

Street

 

City

State

ZlP Code

 

Name

 

Number

Street

 

city

State

Z|P Code

 

Name

 

Number

Street

 

city

Official Form 106G

State

Z|P Code

Schedu|e G: Executory Contracts and Unexpired Leases

What the contract or lease is for

page _ of _

